Case 2:17-cv-03881-JPH Document 7 Filed 11/09/17 Page 1 of 13
            Case 2:17-cv-03881-JPH Document 7 Filed 11/09/17 Page 2 of 13




                   IN THE UNITED STATES DISTRICT COURT FOR THE
                        EASTERN DISTRICT OF PENNSYLVANIA

KAREN MANER!

            Plaintiff                               CIVIL ACTION

      v.                                            Case No. 2:17-cv-03881

STARBUCKS CORPORATION                                  JURY TRIAL DEMANDED

            Defendant

               RESPONSE OF DEFENDANT STARBUCKS CORPORATION
               TO PLAINTIFF'S MOTION TO REMAND TO STATE COURT

       Defendant Starbucks Corporation, by and through its counsel, Cipriani & Werner, P.C.,

and Salvatore Vilardi, Esquire, hereby files the following Response to Plaintiffs Motion to

Remand to State Court:

       1.        Admitted. It is admitted that Plaintiff filed the Writ of Summons on May 15,

2017, according to the electronic docket from the Court of Common Pleas of Philadelphia

County, Pennsylvania.

       2.        Admitted. It is admitted the electronic docket indicates that service was allegedly

effected on Answering' Defendant's corporate office in Washington on June 5, 2017.

       3.        Admitted. It is admitted that the electronic docket indicates that service was

effected at a Starbucks store on June 14, 2017.

       4.        Admitted. It is admitted that the electronic docket indicates Plaintiff filed her

Civil Action Complaint in state court on August 9, 2017.

       5.        Admitted. It is admitted that Answering Defendant filed the Notice of Removal

on August 29, 2017.

       6.        Admitted. It is admitted that Defendant Starbucks Corporation filed the Notice of

Removal on the basis of diversity jurisdiction.


                                                   2
Case 2:17-cv-03881-JPH Document 7 Filed 11/09/17 Page 3 of 13
Case 2:17-cv-03881-JPH Document 7 Filed 11/09/17 Page 4 of 13
Case 2:17-cv-03881-JPH Document 7 Filed 11/09/17 Page 5 of 13
Case 2:17-cv-03881-JPH Document 7 Filed 11/09/17 Page 6 of 13
Case 2:17-cv-03881-JPH Document 7 Filed 11/09/17 Page 7 of 13
Case 2:17-cv-03881-JPH Document 7 Filed 11/09/17 Page 8 of 13
Case 2:17-cv-03881-JPH Document 7 Filed 11/09/17 Page 9 of 13
Case 2:17-cv-03881-JPH Document 7 Filed 11/09/17 Page 10 of 13
Case 2:17-cv-03881-JPH Document 7 Filed 11/09/17 Page 11 of 13
Case 2:17-cv-03881-JPH Document 7 Filed 11/09/17 Page 12 of 13
Case 2:17-cv-03881-JPH Document 7 Filed 11/09/17 Page 13 of 13
